943 F.2d 48
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Tommy BARTLEY, Petitioner,v.DIRECTOR, OFFICE OF WORKERS' COMPENSATION PROGRAMS, UNITEDSTATES DEPARTMENT OF LABOR, Jewell Ridge SmokelessCoal Corporation, Respondents.
    No. 91-1108.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 31, 1991.Decided Sept. 10, 1991.
    
      On Petition for Review of an Order of the Benefits Review Board.  (90-1751-BLA)
      Tommy Bartley, petitioner pro se.
      Michael J. Denney, Cheryl C. Blair-Kijewski, United States Department of Labor, Ronald E. Gilbertson, Kilcullen, Wilson &amp; Kilcullen, Washington, D.C., for respondents.
      Ben.Rev.Bd.
      AFFIRMED.
      Before K.K. HALL and SPROUSE, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Tommy Bartley seeks review of the Benefits Review Board's decision and order affirming the administrative law judge's denial of black lung benefits pursuant to 30 U.S.C. § 901 et seq.   Our review of the record and the Board's decision and order discloses that this appeal is without merit.   Accordingly, we affirm on the reasoning of the Board.   Bartley v. DOWCP, 90-1751-BLA (Benefits Review Board May 14, 1991).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    